 

Case 6:16-CV-OO419-.]A-G.]K Document 21 Filed 09/15/16 Page 1 of 1 PagelD 73

UNITED STATEs DisTRlcT CouRT
MinDLE Dls'rRicT or= Fi.oanA

 

ORLANDO DlVlSlON

GRETCHEN CULLY,

Plaintiff,
v. Case No: 6:16-cv-419-0r|-28GJK
HYUNDA| MOTOR FlNANCE
COMPAN¥,

Defendant.

ORDER OF DlSMlSSAL

The Court has been advised by the parties’ mediator that the above-styled action
has been completely settled (Doc. 20).

Accordingly, pursuant to Local Ru|e 3.08(b) of the l\/liddle District of Florida, it is
ORDERED and ADJUDGED that this case is hereby DlSMlSSED subject to the right of
any partyl within sixty days from the date of this Order, to move the Court for entry of a
stipulated form of final order orjudgment, or, on good cause shown, to reopen the case for

further proceedings /-\l| pending motions are DEN|ED as moot. The Clerk is directed to

close this fi|e.

   

 
  

  

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DONE and ORDERED in Orlando, Flo ` a, on Septe ber /5 , 2016.

 

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JOHN AN?UUNT h
nited States District Judge
Copies furnished to:

Counsel of Record
Unrepresented Parties

 

